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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

UNITED STATES OF AMERICA

Vv. CR. No. 91-0115T

In violation of 18 U.S.C.
§§ 1962(d), 1957, 1956(a) (2)
(A) and (B) (i), 1952(a) (3),
2, 1963, 982

STEPHEN A. SACCOCCIA

(4TH REDACTED)

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SUPERS EDING INDICTMENT

 

COUNT 1
(RICO Conspiracy; 18 U.S.C. § 1962(d))
The Grand Jury charges:
A. INTRODUCTION
1. During the time period covered by this indictment,
defendant STEPHEN SACCOCCIA, was the de facto owner and chief
executive of Trend Precious Metals, Inc., International Metal
Marketing, Inc., Saccoccia Coin Company and Clinton Import/Export,
which conducted business at the following locations:
Trend Precious Metals, Inc., 129 C and D Fletcher Avenue,
Cranston, Rhode Island, and various offices at 580 5th Avenue,

New York, New York;

Saccoccia Coin Company, 1083 Park Avenue, Cranston, Rhode
Island;

International Metal Marketing, Inc., 608 South Hill Street,
Suite 1114, Los Angeles, California; and

Clinton Import/Export, 707 Wilshire Boulevard, Suite 4390, Los
Angeles, California.

2. During the time period covered by this indictment,

defendant STEPHEN SACCOCCIA would conduct the affairs of Trend

 
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Precious Metals at 580 5th Avenue, New York, New York, under the
names "Manhattan Coin" and "International Metals Marketing" as well
as "Trend Precious Metals."

3. During the time period covered by this indictment, co-
conspirators Alfred M. Gabriele, David Izzi, Richard Gizzarelli,
Pat Masino, Howard Messer, Vincent Hurley, Donna Saccoccia, Kenneth
Saccoccio, James Saccoccio, Anthony Demarco, Stephen Pizzo, Carlo
DeMarco, Stanley Cerilla, were de facto employees of defendant
STEPHEN SACCOCCIA and his companies, acting on his instructions and
being paid by him and his companies.

4. During the time period covered by this indictment, Donna
Saccoccia was the wife of defendant STEPHEN SACCOCCIA and worked
for defendant STEPHEN SACCOCCIA in a supervisory role monitoring
the shipment of large volumes of cash in amounts over $10,000 from
the offices of Trend Precious Metals and/or Manhattan Coin Company
in New York, New York to Trend Precious Metals and Saccoccia Coin
Company in Cranston, Rhode Island. Donna Saccoccia would also
supervise the conversion of these large volumes of cash into
checks, the deposit of those checks into certain accounts, and the
subsequent transfer of the deposited funds to other accounts
outside of the state of Rhode Island.

5. During the time period covered by this indictment, co-
conspirator David Izzi worked for defendant STEPHEN SACCOCCIA ina
supervisory role receiving instructions from defendant STEPHEN
SACCOCCIA and overseeing and participating in the receipt of large

volumes of cash in amounts over $10,000 at Trend Precious Metals,

 
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129 C and D Fletcher Avenue, and Saccoccia Coin, 1083 Park Avenue,
Cranston, Rhode Island, its conversion into checks, and their
deposit into certain accounts.

6. During the time period covered by this indictment, Vincent
Hurley worked for defendant STEPHEN SACCOCCIA in a supervisory role
receiving instructions from defendant STEPHEN SACCOCCIA and
overseeing and participating in the receipt of large volumes of
cash in amounts over $10,000 at Saccoccia Coin Company, 1083 Park
Avenue, Cranston, Rhode Island, its conversion into checks, and
their deposit into certain accounts. Hurley also supervised the use
of some of these large volumes of cash in amounts over $10,000 for
the purchase of gold. Some of the gold purchased with this cash was
stolen and some of it was sold "off the books" to prevent the
Internal Revenue Service from determining the tax consequences of
such income.

7. During the time period covered by this indictment, Anthony
DeMarco worked for defendant STEPHEN SACCOCCIA as a money courier
transporting large volumes of cash in amounts over $10,000 from New
York, New York to Trend Precious Metals and Saccoccia Coin Company
in Cranston, Rhode Island. Anthony DeMarco would also receive cash
in Cranston, Rhode Island, and participate in converting it into
checks, and depositing them into certain accounts in a manner
designed to make it appear that the money belonged to DeMarco.

8. During the time period covered by this indictment, James
and Kenneth Saccoccio worked for defendant STEPHEN SACCOCCIA as

money couriers taking large volumes of cash in amounts over $10,000

 
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from Trend Precious Metals and Saccoccia Coin Company in Cranston,
Rhode Island, and converting it into checks.

9. During the time period covered by this indictment, Stephen
Pizzo, Stanley Cerilla and Carlo DeMarco worked for defendant
STEPHEN SACCOCCIA (Pizzo and Cerilla primarily at Saccoccia Coin
Company, 1083 Park Avenue, Cranston, Rhode Island), assisting in
the receipt of large volumes of cash at Trend Precious Metals and
Saccoccia Coin Company in Cranston, Rhode Island, its counting, and
its packaging in preparation for its conversion into checks and
their deposit in certain accounts.

10. During the time period covered by this indictment, Alfred
M. Gabriele was the owner and operator of Recovery Technology, Inc.
(RTI), 65 Newcomb Street, Attleboro, Massachusetts, a precious
metals dealer and refiner. Throughout this time, RTI maintained a
gold pool account through which he received, held, and sold gold on
behalf of defendant Stephen Saccoccia. Beginning in the summer of
1991, Gabriele also received and held cash on behalf of defendant
Saccoccia. During this time period, Gabriele maintained Account
No. 106920-9 in the name of RTI, Inc. at Citizens Bank in Rhode
Island.

11. From March 19, 1986 to April 2, 1991, defendant STEPHEN
SACCOCCIA maintained an account numbered 118-490-3 in the name of
Trend Precious Metals at Citizens Bank, Providence, Rhode Island.
Defendant STEPHEN SACCOCCIA and Donna Saccoccia had signatory
authority over this account and verbally authorized numerous wire

transfers from this account.

 
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12. From a date unknown until November 25, 1991, defendant
STEPHEN SACCOCCIA maintained an account numbered 007003919 in the
name of Manhattan Coin Company at Chemical Bank, New York, New
York. Defendant STEPHEN SACCOCCIA and Donna Saccoccia had
signatory authority over this account and verbally authorized
numerous wire transfers from this account.

13. From February 2, 1989 until November 25, 1991, defendant
STEPHEN SACCOCCIA maintained an account numbered 03109-03393 in the
name of International Metal Marketing at the Bank of America, South
Hill Street, Los Angeles, California. Defendant STEPHEN SACCOCCIA
had signatory authority over this account and verbally authorized
numerous wire transfers from this account.

14. From May 12, 1988 until November 25, 1991, there was an
account numbered 973-995-5 in the name of International Chain Sales
at citizens Trust Company, Providence, Rhode Island. Anthony
DeMarco had signatory authority over this account, but the account
was controlled by defendant STEPHEN SACCOCCIA.

15. From May 2, 1989 until November 25, 1991, defendant
STEPHEN SACCOCCIA maintained an account numbered 208-741-3 in the
name of Vogue Precious Metals at Citizens Trust Company,
Providence, Rhode Island. Defendant STEPHEN SACCOCCIA had
signatory authority over this account.

16. From April 13, 1990 until November 25, 1991, there was an
account numbered 28113457-12 in the name of Refined Metals at First

Bank and Trust, Providence, Rhode Island. Anthony DeMarco had

 
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signatory authority over this account, but the account was
controlled by defendant STEPHEN SACCOCCIA.

17. From April 16, 1990 until November 25, 1991, there was an
account numbered 0004150314 in the name of Gold Enterprises
Refinery at Rhode Island Hospital Trust National Bank, Providence,
Rhode Island. Anthony DeMarco had signatory authority over this
account, but the account was controlled by defendant STEPHEN

SACCOCCIA.

B. THE RACKETEERING CONSPIRACY

During the time period covered by this indictment, Trend
Precious Metals, Inc., Saccoccia Coin Company, Manhattan Coin,
International Metal Marketing, Inc., Clinton Import/Export,
International Chain Sales, Vogue Precious Metals, Refined Metals,
Gold Enterprises Refinery, and Recovery Technology, Inc., were a
group of entities associated in fact with each other, and as such
constituted an "enterprise" as defined in Title 18, United States
Code, Section 1961(4).

From a date unknown and continuing through November 19, 1991,
in the District of Rhode Island and elsewhere, the defendant,
STEPHEN A. SACCOCCIA being a person employed by and associated with
the "enterprise" described above, which was engaged in interstate
and foreign commerce, did unlawfully, willfully, and knowingly
combine, conspire, confederate and agree with Donna Saccoccia,
Anthony DeMarco, Alfred M. Gabriele, James Saccoccio, Kenneth

Saccoccio, Vincent "Mickey" Hurley, Stanley Cerilla, Stephen Pizzo,

 
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Carlo DeMarco, David Izzi, Richard Gizzarelli, Pat Masino, Howard
Messer, Duvan Arboleda, Augusto Arboleda, Barry Slomovitz, Juan
Mejia, Mauricio Mejia, Thomas Murphy, and others known and unknown
to the Grand Jury to conduct and to participate, directly and
indirectly, in the conduct of the affairs of the enterprise through
a pattern of racketeering activity in violation of Title 18, United
States Code, Section 1962(c), which racketeering activity consisted
of money laundering in violation of Title 18, United States Code,
Sections 1956 and 1957, and the use of travel and facilities in
interstate and foreign commerce to promote, manage, establish,
carry on, and facilitate the promotion, management, establishment,
and carrying on of said money laundering offenses, in violation of
Title 18, United States Code, Section 1952(a) (3).

It was part of the conspiracy that each defendant agreed to
commit two or more acts of racketeering activity in the conduct of

the affairs of the enterprise.

Cc. MANNER AND MEANS
The unlawful combination, conspiracy, confederation, and
agreement was to be and was accomplished by the following means and
in the following manners.
1. It was a part of the conspiracy that defendant STEPHEN
SACCOCCIA and Donna Saccoccia, and unindicted co-conspirator
Richard Gizzarelli, would receive large volumes of cash in amounts

exceeding $10,000 at Rooms 606 and 1215 at 580 Fifth Avenue and

 
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Room 706 at 42 West 48th Street, New York, New York, and/or at
other locations in Manhattan from couriers.

2. It was a further part of the conspiracy that defendant
STEPHEN SACCOCCIA, Donna Saccoccia, and Richard Gizzarelli would
receive instructions, sent via a facsimile machine, concerning the
manner in which the cash described in paragraph C.1 should be
distributed to bank accounts and other locations.

3. It was a further part of the conspiracy that defendant
STEPHEN SACCOCCIA, Donna Saccoccia, and Richard Gizzarelli would
cause these large volumes of cash in amounts exceeding $10,000 to
be shipped via Loomis or Brinks armored couriers and by private
vehicle to 129 Fletcher Avenue and 1083 Park Avenue, each in
Cranston, Rhode Island, and to International Metal Marketing, South
Hill Street, Los Angeles, California. In the years 1990 and 1991,
such shipments would typically occur on a daily basis and would
contain hundreds of thousands of dollars in currency rubber-banded
together in bundles of 10-, 20-, and 50-dollar bills.

4. It was a further part of the conspiracy that Anthony
DeMarco, Vincent Hurley, Kenneth Saccoccio, James Saccoccio,
Stanley Cerilla, Stephen Pizzo, Carlo Demarco, and David Izzi would
receive these large volumes of cash in amounts over $10,000 at 129
Fletcher Avenue and 1083 Park Avenue, Cranston, Rhode Island, would
count such cash on an automatic money counting machine, and would
divide such cash in preparation for its transport to various banks.

5. It was a further part of the conspiracy that the

defendants and co-conspirators agreed to and did use code words

 
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when describing the shipment of cash and its conversion to checks
to make the discussion appear to concern a precious metals rather
than a currency transaction. "Ounces" was used to refer to
thousands of dollars, "karat" used to refer to the denomination of
the currency, e.g., twenty karat meaning twenty dollar bills, and
"high grade" and “low grade" used to refer to high and low
denomination currency.

7. It was a further part of the conspiracy that Anthony
DeMarco, Kenneth Saccoccio, James Saccoccio, and David Izzi would
transport the divided portions of these large volumes of cash, the
portions themselves exceeding $10,000, to various banks, where the
defendants and co-conspirators would use the cash to purchase
checks payable to Trend Precious Metals, International Chain Sales,
Vogue Precious Metals, Refined Metals, Gold Enterprises and other
entities. As set forth in paragraph D.1 of the Overt Acts, between
March 1990 and April 2, 1991, the defendants and co-conspirators
would purchase more than 1,000 such checks.

8. It was a further part of the conspiracy that after.
purchasing these checks, the defendants and co-conspirators would
deposit them into accounts held in the names of the respective
payees, as described in paragraphs A.11 to A.17, but would later
group, collect and recombine these funds in the account of Trend
Precious Metals at Citizens Trust.

9. It was further part of the conspiracy that the defendants
and co-conspirators would purchase some checks in amounts in excess

of $10,000 and other checks in amounts under $10,000. In 1990 and

 
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the first 3 months of 1991, the defendants and co-conspirators
purchased more than 400 checks in excess of $10,000 having a total
value of over $26 million for deposit, directly and indirectly,
into the Trend account.

10. With respect to the transactions referred to in paragraph
c.7 involving the purchase of checks for an amount under $10,000,
it was a further part of the conspiracy that Anthony DeMarco,
Kenneth Saccoccio, James Saccoccio and David Izzi would take a
divided portion of the original large volume of cash, the divided
portion still exceeding $10,000, to various banks where this cash
was further divided and used to conduct transactions--that is, the
purchase of two or more checks in amounts under $10,000. In 1990
and 1991, the defendants and co-conspirators purchased more than
600 such checks having a value of more than $5.5 million.

11. It was a further part of the conspiracy that in addition
to depositing, directly and indirectly, the checks referred to in
paragraphs C.7 through C.10 into the account of Trend Precious
Metals at Citizens Trust, defendant STEPHEN SACCOCCIA would cause
additional funds to be transferred by wire from the account of
International Metal Marketing in California to the account of Trend
Precious Metals at Citizens Trust. In 1990 and 1991, more than $53
million was transferred by wire from the International Metal
Marketing Account in California to the Trend account at Citizens
Trust.

12. It was a further part of the conspiracy that defendant

STEPHEN SACCOCCIA and Donna Saccoccia and others would receive more

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than 1,000 blank money orders and travellers checks having a value
of approximately $550,000, fill in the names of the purchasers, and
cause these instruments to be deposited, directly and indirectly,
into the account of Trend Precious Metals.

13. It was further part of the conspiracy that some of the
cash collected in New York and Los Angeles and shipped to Rhode
Island would be used at Saccoccia Coin Company for the purchase of
gold from local sources. Some of this gold was stolen and some was
purchased and sold "off the books" to prevent the Internal Revenue
Service from determining the tax consequences of such transactions.
These transactions were intended to convert low denomination
"street level" drug proceeds into gold and to sell this gold
thereby creating records to make it appear that the sources of the
funds laundered were legitimate gold transactions.

14. It was further part of this conspiracy that, at the
direction of defendant STEPHEN SACCOCCIA, gold would be delivered
to the pool account held by Alfred M. Gabriele at RTI described in
paragraph A.10 above. The gold would be held in this pool account
until defendant SACCOCCIA gave instructions to sell various
quantities thereof. The proceeds were deposited to Account No.
106920-9 in the name of RTI, Inc. at Citizens Trust from where such
proceeds would then be transferred to accounts controlled by
defendant SACCOCCIA via wire transfer or would be wire transferred
to other accounts per defendant SACCOCCIA's instructions.

15. It was further part of the conspiracy that sometime in or

before the fall of 1991, Alfred M. Gabriele began to receive

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shipments of cash in amounts over $10,000 at RTI via armored
courier from persons or companies controlled by defendant SACCOCCIA
in New York and Los Angeles. Gabriele also received shipments of
cash in amounts over $10,000 from companies controlled by defendant
SACCOCCIA in Rhode Island per defendant Saccoccia's instructions.
During this time period, Gabriele and RTI acted as a repository for
the cash to be laundered receiving this cash from various
locations, holding it at RTI, and distributing it to other co-
conspirators in Rhode Island. Gabriele also held funds and gold
actually belonging to defendant SACCOCCIA at RTI, at a pool account
in the name of RTI at another local gold refiner, and in an account
at Citizens Bank in the name of RTI. Gabriele and RTI assumed this
cash repository function because it was believed that the previous
cash repository at 129 Fletcher Avenue, Cranston, Rhode Island was
being scrutinized by law enforcement.

16. It was a further part of the conspiracy that unindicted
co-conspirator Barry Slomovitz would also collect sums of currency,
including the proceeds of drug trafficking, in New York, New York,
and would transmit portions of those sums by wire from an account
held in the name of Capitol Refiners in New York to the Trend
account at Citizens Trust. In 1990 and 1991, more than $9 million
was transferred by wire from Capitol Refiners to the Trend account
at Citizens Trust.

17. It was a further part of the conspiracy that after
Citizens Trust refused to do further business with defendant

STEPHEN SACCOCCIA and closed the Trend Precious Metals account

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numbered 118-490-3 on April 2, 1991, defendant STEPHEN SACCOCCIA,
Anthony DeMarco and David Izzi continued the scheme as before,
except that instead of buying checks and depositing them into the
Trend account at Citizens Trust, the defendants and co-conspirators
would purchase checks in Rhode Island payable to International
Metal Marketing, and send these checks via Brinks or Loomis armored
couriers to International Metal Marketing in Los Angeles. Other
employees of defendant STEPHEN SACCOCCIA would then take these
checks and other funds to various banks in Los Angeles for deposit
into the accounts held in the names International Metal Marketing,
Clinton Import/Export, and RGE.

18. It was a further part of the conspiracy that defendant
STEPHEN SACCOCCIA and Donna Saccoccia would cause the funds that
had been deposited in the account of Trend Precious Metals at
Citizens Trust, and the accounts of International Metal Marketing,
Clinton Import/Export and RGE in Los Angeles, California, to be
transferred by wire to various accounts in Colombia (South
America), Switzerland, Florida, New York and elsewhere according to
instructions received by facsimile as described in paragraph C.2.
Between March 1990 and March, 1991, the defendants and co-
conspirators would transfer more than $130 million from the Trend
Precious Metals account. After April 2, 1991, the defendants and
co-conspirators would transfer an additional sum in excess of 40
million dollars from the International Metal Marketing, Clinton
Import/Export and RGE accounts to many of the same accounts in

Colombia and elsewhere.

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D. OVERT ACTS

In furtherance of the conspiracy and to achieve the objects
thereof, the defendants and their co-conspirators, known | and
unknown to the grand jury, committed and caused to be committed
overt acts in the District of Rhode Island and elsewhere including
the following:

1. The transactions listed in Appendix A to this indictment
(which is incorporated herein) in which the person listed as the
"transactor" purchased a cashiers check, treasurers check or other
monetary instrument with cash at the indicated domestic financial
institution.

2. The transactions listed in Appendix B to this indictment
(which is incorporated herein) in which cashiers checks, treasurers
checks, and other monetary instruments were deposited into the
account of Trend Precious Metals at Citizens Trust.

3. The transactions listed in Appendix C to this indictment
(which is incorporated herein) in which the indicated amounts were
transferred by wire from the account of Trend Precious Metals at
Citizens Trust to the indicated beneficiary account at another

financial institution.

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5. On October 28, 1991, Alfred M. Gabriele received a shipment
at RTI consisting of two boxes of currency. Together with co-
conspirator David Izzi, Gabriele counted this cash which totalled
$98,000, the majority of which was then transferred to Saccoccia
Coin Company.

All in violation of Title 18, United States Code, Section

1962(d).

COUNTS 38 TO 98
(Violations of 18 U.S.C. § 1957)
The Grand Jury further charges:
1. The allegations set forth in q§ A.1 through A.22 of Count
1 of this indictment are repeated and incorporated herein.
2. On or about the dates set forth below, in the District of
Rhode Island, the defendant,
STEPHEN SACCOCCIA
aid knowingly engage and attempt to engage in a monetary
transaction, affecting interstate commerce, in criminally derived
property of a value greater than $10,000, said property having been
derived from a specified unlawful activity, to wit: the
importation, buying, selling and otherwise dealing in narcotic and
other dangerous drugs.
3. In each case the monetary transaction was a transfer of
funds from account number 1184903 at Citizens Trust, Cranston,
Rhode Island, in the amounts specified below in each Count 38

through 98, to the specified bank accounts in Miami and New York.

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count Date Amount Account No. Bank Payee
38 01/12/90 $44,400 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
39 01/18/90 $51,000 4218329 CITIBANK INTL MIAMI CARLOS DUENAS
41 02/02/90 $33,763 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
42 02/13/90 $92,500 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
44 03/20/90 $30,000 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
61,392 32374699 CITIBANK NYC DE CAFERCO LTDA
$91,392
45 03/21/90 $23,200 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
46 04/10/90 $58,530 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
48 04/24/90 $35,000 4247043 CITIBANK INTL MIAMI CARLOS DUENAS
$37,000 8691604816 CHASE NYC ANGELA GARCIA
$72,000
49 04/26/90 $85,000 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
125,000 32374699 CITIBANK NYC DE CAFERCO LTDA
$210,000
50 05/07/90 $85,000 4247043 CITIBANK INTL MIAMI CARLOS DUENAS
65,000 32374699 CITIBANK NYC DE CAFERCO LTDA
$150,000
51 05/14/90 $32,000 8691604816 CHASE NYC ANGELA GARCIA
52 05/25/90 $49,257 4247043 CITIBANK INTL MIAMI CARLOS DUENAS
90,000 32374699 CITIBANK NYC DE CAFERCO LTDA
$139,257

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06/04/90

06/07/90

06/11/90

06/29/90

07/03/90

07/05/90

07/17/90

08/16/90

08/24/90

08/29/90

08/30/90

08/31/90

$69,808

$83,000
57,000

$140,000

$18,142

$58,892
87,000
77,000

$222,892

$71,001

$86,455

$18,768

$55,000

$36,497
63,000

$99,497

$128,000
53,000

$181,000

$204,129

$84,293
58,000
49,594

$191,887

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CITIBANK INTL MIAMI CARLOS DUENAS

CITIBANK NYC DE CAFERCO LTDA

SUN BANK MIAMI FERNANDO DUENAS

CITIBANK INTL MIAMI CARLOS DUENAS
CITIBANK NYC DE CAFERCO LTDA
SUN BANK MIAMT FERNANDO DUENAS
CITIBANK INTL MIAMI CARLOS DUENAS
CITIBANK INTL MIAMI CARLOS DUENAS
FERNANDO DUENAS
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CITIBANK NYC DE CAFERCO LTDA
CITIBANK INTL MIAMI CARLOS DUENAS

SUN BANK MIAMI
CHASE NYC

FERNANDO DUENAS
ANGELA GARCIA

CITIBANK INTL MIAMI CARLOS DUENAS

CITIBANK INTL MIAMI CARLOS DUENAS
CHASE NYC ANGELA GARCIA
CITIBANK NYC DE CAFERCO LTDA

 
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$63,000
65,000

$128,000

$89,000
48,000
53,000

$86,000

$72,566
77,000

$149,566

$73,900
68,300
57,800

$200,000

$70,000
$68,300

$138,300

$154,000
87,000

$241,000

$97,000
$111,000
$115,000

$323,000

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SUN BANK MIAMI FERNANDO DUENAS
CITIBANK INTL MIAMI CARLOS DUENAS

DE CAFERCO LTDA
DE CAFERCO LTDA
ANGELA GARCIA

CITIBANK NYC
CITIBANK NYC
CHASE NYC

CITIBANK INTL MIAMI CARLOS DUENAS

CITIBANK NYC DE CAFERCO LTDA
CITIBANK INTL MIAMI CARLOS DUENAS

CITIBANK NYC DE CAFERCO LTDA
CHASE NYC ANGELA GARCIA
CITIBANK INTL MIAMI CARLOS DUENAS

CITIBANK INTL MIAMI CARLOS DUENAS
CHASE NYC ANGELA GARCIA

CITIBANK NYC DE CAFERCO LTDA
CITIBANK INTL MIAMI CARLOS DUENAS

SUN BANK MIAMI FERNANDO DUENAS
CITIBANK NYC DE CAFERCO LTDA
CITIBANK INTL MIAMI CARLOS DUENAS

 
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10/11/90 $61,400 4247043 CITIBANK NYC CARLOS DUENAS
$87,600 8691604816 CHASE NYC ANGELA GARCIA
100,000 EJ557595 SWISS BANK CORP ROSARIO ZATTA
$81,432 32374699 CITIBANK NYC DE CAFERCO LTDA
$330,432
10/16/90 $72,000 8691604816 CHASE NYC ANGELA GARCIA
81,550 32374699 CITIBANK NYC DE CAFERCO LTDA
47,000 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
$200,550
10/24/90 $52,000 4247043 CITIBANK INTL MIAMI CARLOS DUENAS
43,000 0189003388796 SUN BANK MIAMI FERNANDO DUENAS
33,000 8691604816 CHASE NYC ANGELA GARCIA
103,658 32374699 CITIBANK NYC DE CAFERCO LTDA
$231,658
11/20/90 $87,850 4247043 CITIBANK INTL MIAMI CARLOS DUENAS
80,480 8691604816 CHASE NYC ANGELA GARCIA
$168,330

All in violation of Title 18, United States Code, Sections 1957 and 2.

COUNTS 121 = 133
(Violations of 18 U.S.C. § 1956(a) (2))
The Grand Jury further charges:
1. The allegations set forth in 4@ A.1 through A.22 of Count
1 of this indictment are repeated and incorporated herein.
2. On or about the dates set forth below, in the District of

Rhode Island, the defendant,

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i

STEPHEN SACCOCCIA
did knowingly transport, transmit and transfer and attempt to
transport, transmit and transfer funds, to wit: the amounts
specified below in each Count 121 through 133, from a place in the
United States (that is, account number 1184903 at Citizens Trust,
Cranston, Rhode Island), to a place outside of the United States
(that is, the bank specified in each Count 121 through 133):

(a) with the intent to promote the carrying on of
specified unlawful activity, to wit: the importation, buying,
selling and otherwise dealing in narcotic and other dangerous
drugs; and

(b) Knowing that said funds represented the proceeds of
some form oof unlawful activity, and knowing that = such
transportation, transmission and transfer was designed in whole and
in part to conceal and disguise the source, ownership and control

of the proceeds of said specified unlawful activity.

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Count Date

121

122

123

124

125

126

127

128

129

130

131

132

133

02/22/90
04/10/90
06/07/90
06/26/90
06/27/90
04/26/90
04/27/90
08/20/90
08/24/90
10/25/90
10/26/90
10/26/90

10/26/90

i

Payee

MANUFACTURAS JAL
MANUFACTURAS JAL
MANUFACTURAS JAL

MANUFACTURAS JAL

MANUFACTURAS CARIBE COSTA

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Amount

$525,820
$476,700
$378,214
$545,000

$500,000

ASTRAKAN LTDA Y-O COLUMBIAN BAGS $383,187

ASTRAKAN LTDA Y-O COLUMBIAN BAGS $383,099.75

ASTRAKAN

COLUMBIAN BAGS

ASTRAKAN-CUEROCO

ASTRAKAN=-CUEROCO

ASTRAKAN-CUEROCO

ASTRAKAN-CUEROCO

All in violation of Title 18, United States

Sections 1956(a) (2) (A),

(Travel Act Violations; 18 U.S.C. § 1952(a) (3))

$147,280
$300,000
$170,000
$500,000
$210,000

$120,000

(B) (i), and 2.

COUNTS 134 TO 141

The Grand Jury further charges:

Bank

 

BANCO DE CALDAS
BANCO DE CALDAS
BANCO DE CALDAS
BANCO DE CALDAS
BANCO DE CALDAS
CAJA DE CREDITO
CAJA DE CREDITO
CAJA DE CREDITO
CAJA DE CREDITO
CAJA DE CREDITO
BANCO POPULAR

CAJA DE CREDITO

CAJA DE CREDITO

Code,

1. The allegations set forth in 4 A.1 through A.22 of Count

1 of this indictment are repeated and incorporated herein.

2. On or about the dates set forth below,

in the District of

Rhode Island and elsewhere, the defendant, as named below in each

Count 134 through 141,

knowingly travelled in interstate and

foreign commerce and used a facility in interstate and foreign

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Count

134

138

139

140

(

commerce with the intent to promote, manage, establish, carry on,
and facilitate the promotion, management, establishment and
carrying on of an unlawful activity, to wit: acts indictable under

Title 18, United States Code, Sections 1956 and 1957.

 

Defendant Date Description
STEPHEN SACCOCCIA 10/12/90 Transport of

approx. $248,000
from N.Y. to R.I.
via Conn. Tpk.

STEPHEN SACCOCCIA 4/3/91 Transport of cash
from N.Y. to R.1I.
via Conn. Tpk.

STEPHEN SACCOCCIA 4/3/91 : Shipment of 2 checks
to Los Angeles via
Brinks.

STEPHEN SACCOCCIA 4/4/91 Shipment of 2 checks

to Los Angeles

All in violation of 18 U.S.C. §§ 1952(a)(3) and 2.

A TRUE BILL:

 

Foreperson

 

LINCOLN C. ALMOND
United States Attorney

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